                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

In re:                                                   )    Chapter 11
                                                         )
Squirrels Research Labs LLC et al.,1                     )    Case No. 21-61491
                                                         )    (Jointly Administered)
                          Debtors.                       )
                                                         )    Judge Russ Kendig


     NOTICE OF MOTION OF DEBTOR AND DEBTOR-IN-POSSESSION SQUIRRELS
      RESEARCH LABS, LLC FOR ENTRY OF AN ORDER: (I) AUTHORIZING THE
       DEBTOR TO PAY (A) PREPETITION EMPLOYEE WAGES, SALARIES AND
    RELATED ITEMS; AND (B) PREPETITION CONTRIBUTIONS TO, AND BENEFITS
     UNDER, EMPLOYEE BENEFIT PLANS; AND (II) GRANTING RELATED RELIEF


         PLEASE TAKE NOTICE THAT on February 17, 2022, the debtors and debtors-in-

possession (each a “Debtor” and collectively, the “Debtors”), in the above-captioned Chapter 11

cases, filed the Motion Of Debtor And Debtor-In-Possession Squirrels Research Labs, LLC For

Entry Of An Order: (I) Authorizing The Debtor To Pay (A) Prepetition Employee Wages,

Salaries And Related Items; And (B) Prepetition Contributions To, And Benefits Under,

Employee Benefit Plans; And (II) Granting Related Relief (the “Motion”).

         Your rights may be affected. You should read the Motion carefully and discuss it with

your attorney, if you have one in these bankruptcy cases. (If you do not have an attorney, you

may wish to consult one.)

         Pursuant to Local Rule 9013-1(b), if you do not want the Court to grant the relief

requested in the Motion, or if you want the Court to consider your views on the Motion, then on


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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.




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or before March 3, 2022, you or your attorney must file with the Court a written objection

explaining your position at:

                               United States Bankruptcy Court
                               Office of the Clerk
                               Ralph Regula Federal Building and U.S. Courthouse
                               401 McKinley Avenue, SW
                               Canton, Ohio 44702

You must also serve a copy of your request on the undersigned counsel:

                               Marc B. Merklin
                               Julie K. Zurn
                               Brouse McDowell LPA
                               388 S. Main Street, Suite 500
                               Akron, Ohio 44311

                               Counsel for the Debtors
                               and Debtors-in-Possession

       Pursuant to Local Rule 9013-1(d), if you or your attorney do not take these steps, the

Court may grant the relief requested without conducting a hearing and without further notice to

you.

Dated: February 17, 2022                     Respectfully submitted,

                                             /s/ Julie K. Zurn
                                             Marc B. Merklin (0018195)
                                             Julie K. Zurn (0066391)
                                             BROUSE McDOWELL, LPA
                                             388 S. Main Street, Suite 500
                                             Akron, Ohio 44311
                                             Telephone: (330) 535-5711
                                             Facsimile: (330) 253-8601
                                             mmerklin@brouse.com
                                             jzurn@brouse.com

                                             Counsel for the Debtors
                                             and Debtors-in-Possession




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                                CERTIFICATE OF SERVICE

       I, Julie K. Zurn, hereby certify that on February 17, 2022, a true and correct copy of the

Notice of Motion Of Debtor And Debtor-In-Possession Squirrels Research Labs, LLC For Entry

Of An Order: (I) Authorizing The Debtor To Pay (A) Prepetition Employee Wages, Salaries And

Related Items; And (B) Prepetition Contributions To, And Benefits Under, Employee Benefit

Plans; And (II) Granting Related Relief was served via the court’s Electronic Case Filing System

on these entities and individual who are listed on the court’s Electronic Mail Notice List:

       John C. Cannizzaro on behalf of Interested Party Instantiation LLC at
       John.Cannizzaro@icemiller.com, lauren.prohaska@icemiller.com

       Christopher Paul Combest on behalf of Creditor Avnet, Inc. at
       christopher.combest@quarles.com

       John G. Farnan on behalf of Creditor Cincinnati Insurance Company at
       jfarnan@westonhurd.com

       Robert E. Goff, Jr. on behalf of Creditor Cincinnati Insurance Company at
       rgoff@westonhurd.com, jroberts@westonhurd.com

       Steven Heimberger on behalf of Interested Party SCEB, LLC at sheimberger@rlbllp.com,
       HeimbergerSR82735@notify.bestcase.com

       Jeannie Kim on behalf of Interested Party Instantiation LLC at
       JeKim@sheppardmullin.com, dgatmen@sheppardmullin.com

       Marc Merklin on behalf of Debtor Squirrels Research Labs LLC at
       mmerklin@brouse.com, tpalcic@brouse.com;mmiller@brouse.com

       David M. Neumann on behalf of Creditor Envista Forensics, LLC d/b/a AREPA
       dneumann@meyersroman.com, jray@meyersroman.com;mnowak@meyersroman.com

       David M. Neumann on behalf of Creditor Torea Consulting Ltd. at
       dneumann@meyersroman.com, jray@meyersroman.com;mnowak@meyersroman.com

       Christopher Niekamp on behalf of Creditor Better PC, LLC at cniekamp@bdblaw.com

       Paul J. Schumacher on behalf of Interested Party Ohio Power Company dba American
       Electric Power at pschumacher@dmclaw.com, tgross@dmclaw.com



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               Frederic P. Schwieg at fschwieg@schwieglaw.com

               Frederic P. Schwieg on behalf of Trustee Frederic P. Schwieg at
               fschwieg@schwieglaw.com

               Bryan Sisto on behalf of Creditor Carl Forsell at bsisto@fbtlaw.com

               Richard J. Thomas on behalf of Creditor Premier Bank at
               rthomas@hendersoncovington.com, dciambotti@hendersoncovington.com

               Joshua Ryan Vaughan on behalf of Creditor Ohio Bureau of Workers Compensation at
               jvaughan@amer-collect.com, SAllman@AMER-COLLECT.COM;HouliECF@aol.com

               Julie K. Zurn on behalf of Debtor Squirrels Research Labs LLC at
               jzurn@brouse.com, tpalcic@brouse.com

               Kate M. Bradley ust44 on behalf of U.S. Trustee United States Trustee at
               kate.m.bradley@usdoj.gov

     And by regular U.S. Mail on February 17, 2022, on the following:

Ohio Power Co. d/b/a AEP Ohio                                                     Bittware/Molex LLC
Attn: Dwight Snowden                        Andrew Waters                         Attn: Tricia McCoy
1 Riverside Plaza, 13th Floor               6653 Main Street                      2222 Wellington Ct
Columbus, OH 43215                          Williamsville, NY 14221               Lisle, IL 60532
                                            UNDELIVERABLE


CliftonLarsonAllen LLP                                                            Donald Ruffatto
220 S. 6th Street, Suite 300                CT Data LLC
                                                                                  420 Fairview Ave, Apt. 107
Minneapolis MN 55402-1436                   133 River Road
                                                                                  Arcadia, CA 91007
                                            Mystic, CT 06355


Everhart Glass Co., Inc.
Attn: Linda Monigold                        Everstream                            FedEx
207 Ninth St., SW                           1228 Euclid Ave #250                  PO Box 371461
PO Box 20645                                Cleveland, OH 44115                   Pittsburgh, PA 15250-7461
Canton, OH 44701


Hailu Looyestein                            Internal Revenue Service              Internal Revenue Service
Schout Coxstraat 1                          PO Box 7346                           Insolvency Group 6
5421GJ Gemert                               Philadelphia, PA 19101-7346           1240 E. Ninth Street, Room 493
NETHERLANDS                                                                       Cleveland, OH 44199



IPS Assembly Corp.                          Jason Price                           Jose A. Rubio
Attn: Perry Sutariya                        67 Bartram Trail                      15925 Hopper Lane
12077 Merriman Rd                           Brunswick, GA 31523                   San Diego, CA 92127
Livonia, MI 48150




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Mark D'Aria                                     Metal Masters                         David Chase, et al.
165 Old Field Rd.                               Attn: Bret Kettlewell                 c/o Michael Maranda
Setauket, NY 11733-1639                         125 Williams Dr                       293 Durkee Lane
                                                Dover, OH 44622                       E. Patchogue, NY 11772



Office of the U.S. Trustee                      Office of U.S. Attorney               Ohio Attorney General
201 Superior Ave. East, Suite 441               Attn: Bankruptcy Section              Collections Enforcement Section
H.M. Metzenbaum US Courthouse                   Carl B. Stokes U.S. Court House       Attn: Bankruptcy Unit
Cleveland, OH 44114-1234                        801 W. Superior Avenue, Ste 400       30 E. Broad Street, 14th Floor
                                                Cleveland, OH 44113                   Columbus, OH 43215


Ohio Bureau of Workers' Compensation            Ohio Department of Job & Family       Ohio Department of Taxation
Attn: Law Section Bankruptcy Unit               Svcs                                  Attn: Bankruptcy Division
PO Box 15567                                    Attn: Legal Support-Bankruptcy        PO Box 530
Columbus, OH 43215-0567                         PO Box 182830                         Columbus, OH 43216-0530
                                                Columbus, OH 43218-2830


Phillippe Germain                               Sam Adams                             Samtec
102 W. Service Rd #2153466                      3417 Bush Street                      520 Park E. Blvd.
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Steven Turnshek                                 Trevor Steinle                        William Paden
13 Krist Glen Dr                                24106 SE 42nd St                      205 Plains Rd
Swissvale, PA 15218                             Sammamish, WA 98029                   Westford, VT 05494


                                            Instantiation LLC
Michael Maranda                                                                       Internal Revenue Service
                                            c/o Jason R. Schendel
293 Durkee Lane                                                                       Attn: Deputy Director
                                            Sheppard, Mullin, Richter & Hampton LLP
E. Patchogue, NY 11772                                                                1240 E. Ninth Street
                                            4 Embarcadero Center, 17th Flr
                                                                                      Cleveland, OH 44199
                                            San Francisco, CA 94111


Squirrels 401(k) & Profit Sharing Plan
                                                Amanda McConnell                      David Reynolds
c/o Plan Sponsor, Squirrels, LLC
                                                191 E. 28th Street                    6046 Jerusalem Drive
121 Wilbur Drive, NE                            Dover, OH 44622                       Cicero, NY 13039
North Canton, OH 44720



James Holodnak                                  George D. Jimenez                     Heather Bradley
2910 16th Street, NW                            9396 Broadland Street, NW             1213 N. Chapel Street
Canton, OH 44708                                Massillon, OH 44646                   Louisville, OH 44641



                                                 Michael Maranda
 Seth Stanfill                                   c/o Kara Dodson, Esq.                 Kyle Slutz
 1515 24th Street, NW                            Soles Law Offices                     1116 W. Nimisila Road
 Canton, OH 44709                                6545 Market Avenue, N                 Clinton, OH 44216
                                                 N. Canton, OH 44721




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